                            Law Office of William Most
                        201 St. Charles Ave., Ste. 114, # 101 ♦ New Orleans, LA 70170
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Jefferson Parish Sheriff’s Office                                                   January 25, 2020
1233 Westbank Expressway
Harvey, LA 70058
Via U.S. Mail

Re:    Anti-Spoliation Notice

       Dear Sheriff Joseph P. Lopinto, III,

       This letter is to inform you that you can reasonably foresee litigation regarding the death of
P     on January 19, 2020.
        By this Anti-Spoliation Notice, You are hereby given formal notice not to destroy, conceal or
alter any paper or electronic files and other data generated by and/or stored on computers and storage
media (e.g., hard disks, floppy disks, backup tapes), or any other electronically stored information
(“ESI”). Any normal process of document destruction or overwriting must cease. You are required to
immediately take those actions necessary to fully preserve and protect certain evidence. See, e.g.,
Zubulake v. UBS Warburg LLC, No. 02 Civ. 1243 (S.D.N.Y. July 20, 2004); Pham v. Contico Intern.,
Inc., 759 So.2d 880 (La. App. 2000).

       The following is a non-exhaustive list of the kinds of evidence that need to be retained.

           •     All security footage;
           •     All footage obtained from in-car cameras (“dash cams”), body-worn cameras, or any other
                 recording device;
           •     Text messages, emails, and voicemails;
           •     Witness accounts, whether documented on paper, electronically, or otherwise;
           •     All records related to the investigation into Mr.   s death;
           •     911 records;
           •     Statements to the public or press;
           •     All paper records;
           •     All other evidence.

         You should anticipate that your employees, staff, or others may seek to hide, destroy or alter
information and act to prevent or guard against such actions. This concern is not one unique to You or
your employees and officers. It’s simply an event that occurs with such regularity in electronic discovery
efforts that any custodian of ESI and their counsel are obliged to anticipate and guard against its
occurrence. Nothing in this demand for preservation should be understood to diminish your obligation to
preserve documents, ESI, tangible things and other potentially relevant evidence.

                                                                  Sincerely,

                                                                  /s/ William Most
                                                                  William Most
                                                                  Law Office of William Most
